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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            BEAUMONT DIVISION

                                       §
BAPTIST HOSPITALS OF SOUTHEAST
                                       §   Civil Action No. 1:18-cv-00320
TEXAS,
                                       §
                                       §   Judge Marcia Crone
           Plaintiff,
                                       §
v.                                     §
AETNA HEALTH INC.,                     §
                                       §
           Defendant.                  §




                        PLAINTIFF’S MOTION TO REMAND




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           This is a dispute over the rate of payment in a contract between a hospital and an

insurance company.        Baptist Hospitals of Southeast Texas (“Baptist”) filed this breach of

contract case in state court, seeking solely the equitable, non-monetary remedies of specific

performance and injunctive relief.      Baptist sued Aetna Health Inc. (“Aetna”) because after

paying Baptist at a certain contractual rate for nearly five years, Aetna recently demanded a

refund of those payments based on its new allegation that a different payment rate applies. The

state court entered a temporary restraining order to prevent Aetna from clawing back the

previous payments that Aetna correctly paid at the agreed-upon rate and scheduled a temporary

injunction hearing for July 17, 2018. To avoid that hearing, Aetna immediately removed the

case on the alleged grounds that Baptist has asserted ERISA claims.          Aetna’s assertion is

incorrect and groundless.

           Baptist sued Aetna because there is a dispute about the correct rate of payment under a

contract between the two companies. Baptist’s contract and equitable rights are legal bases

independent of ERISA; Baptist’s claim does not involve a determination of the right of any

insured to receive payment under an ERISA plan. Baptist does not seek ERISA benefits. Under

clear Fifth Circuit precedent that a dispute over the contractual rate of payment does not create

federal jurisdiction (in a case that involved Aetna and its same counsel here), Aetna’s removal

was intentionally improper. This Court should therefore remand, and require Aetna to pay

Baptist’s costs and attorneys’ fees.

1.         Background

           Baptist and Aetna entered into the Hospital Services Agreement effective June 1, 2013

(“Agreement”). Under the Agreement, the parties agreed that Aetna would reimburse Baptist for

high-cost drugs and implants at X% of billed charges for June 1, 2013 and at Y% of billed




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charges for January 1, 2014 forward (the “Agreement”). 1         This was the same contractual

payment structure that had been in place between Baptist and Aetna under a prior contract since

2004—the only change in the new contract was the applicable percentage of billed charges.

           Aetna has paid Baptist pursuant to the Agreement for more than five years, reimbursing

high-cost drugs and implants at X% in 2013 and at Y% from 2014 through the present. Aetna

paid for millions of dollars of drugs and implants that Baptist provided when treating Aetna’s

insureds, all pursuant to the correct rate of payment under the Agreement. As it approved and

paid those claims, Aetna did not state that X% or Y% was not the correct contractual rate for

reimbursement of high-cost drugs and implants.

           In late 2015, Cotiviti, a third-party auditor working for Aetna, came up with a new

interpretation of the Agreement to claim that Aetna had been “overpaying” for high-cost drugs

and implants since 2013. Cotiviti did not participate in the contractual negotiations or in the

contractual relationship between Baptist and Aetna. Thus, Cotiviti was not aware that the parties

had never discussed or negotiated anything other than a percentage of billed charges

reimbursement structure for high-cost drugs and implants. But Cotiviti is likely paid by Aetna

on a contingent basis; i.e. some or all of Cotiviti’s compensation is based on the amount of

purported “overpayments” that Cotiviti helps payers like Aetna recover from healthcare

providers like Baptist. Thus, in late 2015 Cotiviti claimed that a different rate structure applied

that limited Baptist’s reimbursement to no more than a certain mark-up over Baptist’s acquisition

cost, based on boilerplate language in the Agreement that does not apply because the parties did

not check any box to indicate that it did.



1
 The specific percentages in the Agreement are confidential, but can be provided to the Court on
an in camera basis or under seal.


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           Despite Cotiviti’s new claims about the Agreement, Aetna continued to pay Baptist

Hospitals in accordance with the Agreement, reimbursing high-cost drugs and implants at Y% of

billed charges in 2016, 2017, and 2018. However, in March 2018, after more than two years of

“auditing,” Cotiviti demanded, on Aetna’s behalf, that Baptist “refund” $2,155,688.22 for high-

cost drugs and implants that Aetna had already approved and paid for in 2014, 2015, and 2016.

That same month, another third-party auditor working for Aetna, OmniClaim, followed Cotiviti’s

lead and sent Baptist a separate “refund” request for $489,215.50 for high-cost drugs and

implants that Aetna had already approved and paid for in 2016 and 2017. These “refund”

requests were made based solely on Cotiviti’s new argument about the contract’s payment rate

that was first raised in late 2015, more than two years after the Agreement was executed.

           Baptist disputed both “refund” requests in writing and asked to have a meeting with

Aetna to discuss these issues. Aetna denied Baptist’s written dispute and did not respond to

Baptist’s requests for a meeting.        In mid-June 2018, Aetna began recouping the purported

“overpayments.”

           1.1.   Contrary to Aetna’s characterization, Baptist asserts a claim for breach of
                  contract and seeks specific performance and injunctive relief, not ERISA
                  benefits, because Aetna recently began disputing the contractual rate that it
                  has paid for over five years.

           On July 3, 2018, Baptist filed this case in state court, asserting a single claim for breach

of contract and seeking specific performance and injunctive relief. Ex. 1, Original Petition. The

entire crux of the parties’ dispute is a disagreement over the contract’s payment rate—Baptist

maintains the Agreement requires payment for high-cost drugs and implants of Y% of billed

charges, while Aetna now claims that Y% of billed charges is not the correct rate. Id., at ¶¶ 32-

33. By filing this lawsuit, Baptist seeks to enforce the agreed-upon rate of payment rate of Y%

of billed charges, without regard to acquisition cost. Baptist seeks specific performance and



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injunctive relief requiring Aetna to abide by the contract’s payment rate and to refrain from

demanding or obtaining any “refunds” of purported overpayments. Id., at ¶¶ 43-44.

           Baptist’s breach of contract claim does not involve the right to payment under the terms

of an ERISA benefits plan: Baptist does not seek to litigate whether Aetna properly or

improperly denied coverage for any particular Aetna insured. These are all claims that Aetna

already determined were covered (in most cases, years ago) and already paid at Y% of billed

charges. Thus, Baptist seeks a court order that Aetna cannot demand a “refund” for high-cost

drugs and implants that Aetna already determined were covered and properly reimbursed at the

correct contractual rate, because obtaining such a “refund” is a breach of the Agreement.

           1.2.   After the state court entered a TRO enjoining Aetna from clawing back
                  payment on valid claims that Aetna had already approved and paid at the
                  agreed-upon rate, Aetna immediately and improperly removed to this Court.

           The 60th District Court of Jefferson County entered a temporary restraining order against

Aetna on July 3, 2018, the day that the case was filed. The court found that Baptist had shown a

probable injury and probable right to recovery and that, if the court did not issue the requested

order, Baptist would be irreparably harmed. Ex. 2. Accordingly, the state court enjoined Aetna

from “(a) withholding, recouping, or offsetting payment to Baptist Hospitals, (b) attempting to

withhold, recoup, or offset payment to Baptist Hospitals, and (c) otherwise seeking a refund of

alleged overpayments, on the basis that the Hospital Services Agreement limits payments for

high-cost drugs and implants based on the invoice or acquisition cost.” Id. The court scheduled

a hearing on Baptist’s application for a temporary injunction for July 17, 2018. Id.

           The next business day after the TRO was entered, July 5, Aetna filed its notice of

removal, wrongly asserting that Baptist’s claim for breach of the Agreement between Aetna and

Baptist must be litigated in federal court.




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2.         Legal standard for removal

           Federal courts have limited jurisdiction with specific jurisdictional requirements and

limitations. See Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 552, 125 S. Ct. 2611,

162 L.Ed.2d 502 (2005). When a party seeks to adjudicate a matter in federal court, the party

must demonstrate that the federal court has jurisdiction over the matter. Id.; see also Howery v.

Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001) (court “must presume that a suit lies outside

this limited jurisdiction, and the burden of establishing federal jurisdiction rests on the party

seeking the federal forum”).       Accordingly, the party seeking removal bears the burden of

showing that federal jurisdiction is proper. See, e.g., Carpenter v. Wichita Falls Indep. Sch.

Dist., 44 F.3d 362, 365 (5th Cir. 1995). “Because removal deprives the state court of an action

properly before it, removal raises significant federalism concerns and the statute is therefore to

be strictly construed, with any doubt about the propriety of removal resolved in favor of

remand.” Waddell v. Edison Chouest Offshore, 93 F. Supp. 3d 714, 716 (S.D. Tex. 2015); see

also African Methodist Episcopal Church v. Lucien, 756 F.3d 788, 793 (5th Cir. 2014). In short,

any “doubts regarding whether removal jurisdiction is proper should be resolved against federal

jurisdiction.” Vantage Drilling Co. v. Hsin-Chi Su, 741 F.3d 535, 537 (5th Cir. 2014).

3.         This case should be remanded because Baptist’s claim for breach of contract is not
           ERISA preempted.

           Because Baptist’s claim for relief (a) could not be brought under ERISA § 502(a)(1)(B);

(b) arises from independent legal sources; and (c) involves the rate of payment, as opposed to the

right of payment, Baptist’s claim is not preempted by ERISA. This case should be remanded.




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           3.1.   Case law within the Fifth Circuit (including multiple cases lost by Aetna) is
                  very clear that claims that implicate the rate of payment under a contract,
                  rather than the right of payment under a benefit plan, are not preempted.

           Complete ERISA preemption applies only where “an individual, at some point in time,

could have brought his claims under ERISA § 502(a)(1)(B), and where there is no other

independent legal duty that is implicated by a defendant’s actions.” Aetna Health Inc. v. Davila,

542 U.S. 200, 210 (2004).

           In a previous case involving Aetna and its same counsel here, the Fifth Circuit set forth

the test for ERISA preemption in cases involving a healthcare provider’s dispute with an

insurance company about the parties’ contract rate, which also has been adopted by other

Circuits and District Courts within the Fifth Circuit:

           A claim that implicates the rate of payment as set out in the Provider Agreement,
           rather than the right to payment under the terms of the benefit plan, does not run
           afoul of Davila and is not preempted by ERISA.

Lone Star OB/GYN Associates v. Aetna Health Inc., 579 F.3d 525, 530 (5th Cir. 2009) (holding

no preemption) (emphasis in original).          “This is because a dispute concerning only the

contractual rate of payment is a breach-of-contract claim, not an ERISA claim.” Kelsey-Seybold

Med. Group PA v. Great-W. Healthcare of Texas, Inc., 611 Fed. Appx. 841, 842 (5th Cir. 2015).

Thus, where a “partial payment . . . resulted from a denial of benefits under the plan, the claim

may be preempted,” Lone Star, 579 F.3d at 533, but “where claims do not involve coverage

determinations, but have already been deemed ‘payable,’ and the only remaining issue is whether

they were paid at the proper contractual rate, ERISA preemption does not apply.” Id. at 532.

           3.2.   Baptist’s breach of contract claim concerning the correct rate of payment
                  under the Agreement is not preempted by ERISA.

           Baptist’s claim for breach of contract does not satisfy the test for ERISA preemption.

First, Baptist’s claim is not one that could have been brought under ERISA § 502(a)(1)(B).



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Baptist is not bringing claims based upon specific assignments from Aetna plan participants. See

Ex. 1, at ¶¶ 43-44. Baptist instead seeks to enforce the contractual payment rate term contained

in the Agreement between Baptist and Aetna. Id. These rights are not ones that benefit plan

participants could assert because they are not parties to the Agreement. Therefore, Baptist’s

claim could not have been brought under ERISA § 502(a)(1)(B). See N. Cypress Med. Ctr.

Operating Co. v. CIGNA Healthcare, 782 F. Supp. 2d 294, 313 (S.D. Tex. 2011), aff'd sub nom.

N. Cypress Med. Ctr. Operating Co., Ltd. v. Cigna Healthcare, 781 F.3d 182 (5th Cir. 2015).

           Second, Baptist’s claim arises from independent sources of legal obligation regarding the

correct rate of payment under the Agreement (and not the right of payment under the terms of an

ERISA plan). “[T]he question is not whether plaintiff's claims relate to benefits under ERISA

plans, but rather whether adjudication of those claims requires an interpretation of an ERISA

plan.” Kelsey-Seybold Med. Group PA, 611 Fed. Appx. at 842. Contrary to Aetna’s factually

unsupported and incorrect representations in its removal, Baptist is not complaining about

Aetna’s coverage determinations under the terms of the underlying ERISA plans. See Removal

Notice, at ¶ 8. A review of Baptist’s Petition makes clear that this dispute relates only to the

correct payment rate under the Agreement, not any individual coverage determinations. See Ex.

1, at ¶¶ 32-33. The claims at issue are claims that Aetna already determined are covered and

already has paid at the correct contractual rate, but now seeks to recoup based on a new argument

about the payment rate that was first invented in late 2015 by Aetna’s outside “recovery” auditor.

See id., at ¶¶ 31-37. There is no need to look at the terms of any ERISA plan to adjudicate

Baptist’s claim and award Baptist the relief it seeks. As such, Baptist’s claim is not preempted.

N. Cypress Med. Ctr. Operating, 782 F. Supp. 2d at 313 (“Because the Discount Agreements

create a legal duty apart from the ERISA plans and resolution of the claim does not necessarily




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require interpretation of the plan, North Cypress’ breach of contract claim is not preempted by

ERISA.”).

           In a multitude of similar disputes between other healthcare providers and Aetna

(represented by its same counsel here), courts have consistently remanded cases where the

dispute was over the contractual rate of payment, not the right to payment under the terms of an

ERISA plan. See, e.g., Ne. Hosp. Auth. v. Aetna Health Inc., H–07–2511, 2007 WL 3036835, at

**10-11 (S.D. Tex. Oct. 17, 2007) (Rosenthal, J.) (state law claims that “Aetna paid only 75% of

billed charges” for certain patients and “85% of a lower per diem rate” for other patients were

not preempted because they arose “out of the parties’ Hospital Agreement, not the terms of the

ERISA patient’s benefit plans”); Mem'l Hermann Hosp. Sys. v. Aetna Health Inc., CIV A. H09-

3342, 2010 WL 3817163, at *3 (S.D. Tex. Sept. 27, 2010) (Harmon, J.) (granting motion to

remand because provider “challenge[d] the rate of payment received from Aetna under the

Agreement” and made “no mention of any claim based on a right to payment under the terms of

an ERISA benefit plan”); Plano Orthopedic & Sports Med. Ctr., P.A. v. Aetna U.S. Healthcare

of N. Texas, Inc., 3:09-CV-2124-L, 2011 WL 1428977, at *5 (N.D. Tex. Apr. 12, 2011)

(Lindsay, J.) (granting motion to remand because provider’s claims were limited to disputes

about the rate of payment, not the right of payment); Plano Orthopedic & Sports Med. Ctr., P.A.

v. Aetna Health, Inc., 3:12-CV-01744-L, 2012 WL 5355800, at *4 (N.D. Tex. Oct. 30, 2012)

(Lindsay, J.) (granting second motion to remand because “Aetna has no jurisdictional or

procedural basis to remove this action to federal court for a second time”); Mem'l Hermann

Hosp. Sys. v. Aetna Health Inc., CIV.A. H-06-00828, 2007 WL 1701901, at *5 (S.D. Tex. June

11, 2007) (Miller, J.) (granting motion to remand because “[i]n essence, plaintiff seeks damages

measured by the charges for its discounted services to the defendants, not the full recovery it




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could receive on the patients’ assigned benefit claims” under ERISA). 2 By contrast, courts have

denied motions to remand in cases involving Aetna where the plaintiff’s claims would require a

coverage determination under an ERISA plan—these cases typically involve individual patients

and not healthcare providers who have a contract with Aetna. See, e.g., Christie v. Aetna Health,

Inc., No. 4:10–cv–1766, 2011 WL 5864248, at *6 (S.D. Tex. Nov. 22, 2011) (denying motion to

remand because the case brought by individual plaintiff turned on whether Aetna had received

adequate documentation to enable a determination of whether certain procedures were covered

under the ERISA plan). Those circumstances are not present here.

           Based on a plain reading of Baptist’s pleading and the governing case law, this is not a

close call. The Court should remand.

4.         The Court should require Aetna to pay Baptist’s attorneys’ fees and costs related to
           Aetna’s improper removal—Aetna and its counsel are very familiar with the
           governing legal standard and have been remanded to state court multiple times in
           similar cases.

           Given its extensive background with these types of cases, Aetna’s removal of this case

was intentionally improper. At the very least, Aetna lacked an objectively reasonable basis for




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  See also Kindred Hosps. Ltd. P'ship v. Aetna Life Ins. Co., 3:16-CV-3379-D, 2017 WL
2505001, at *7 (N.D. Tex. June 9, 2017) (Fitzwater, J.) (finding no coverage dispute under
ERISA plans because “charges either were paid (albeit at a reduced rate) or were not submitted
in the first place. Accordingly, Kindred's contract claims are not completely preempted.”);
Methodist Hosps. of Dallas v. Aetna Health Inc., 3:13-CV-4992-B, 2014 WL 3764879, at *7
(N.D. Tex. July 30, 2014) (Boyle, J.) (granting motion to remand in case involving dispute over
whether Aetna timely paid claims); Texas Health Res. v. Aetna Health Inc., 4:13-CV-1013-A,
2014 WL 553263, at *7 (N.D. Tex. Feb. 12, 2014) (McBryde, J.) (granting motion to remand
because Aetna “failed to show that any of plaintiff’s claims are completely preempted by
ERISA” where provider sought to recover statutory penalties for Aetna’s late payments); S.
Texas Spinal Clinic, P.A. v. Aetna Healthcare, Inc., CIV.A.SA-03-CA0089FB, 2004 WL
1118712, at *4 (W.D. Tex. Mar. 22, 2004) (Biery, J.) (granting motion to remand in case
involving dispute over whether Aetna timely paid claims).




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removal. Baptist respectfully requests that the Court award it attorneys’ fees and costs related to

Aetna’s improper removal. 28 U.S.C. §1447(c).

           Aetna and its counsel are no strangers to the governing Fifth Circuit test set forth in the

seminal Lone Star decision—indeed, they were directly involved in and argued that case. To

make matters worse, in its Petition filed in state court Baptist cited Lone Star and informed

Aetna that this case was not removable to federal court because it is a dispute over the

contractual rate of payment. See Ex. 1, at ¶ 9. Moreover, as set forth above, Aetna and its same

counsel here have removed numerous cases that were subsequently remanded because, like here,

they involved breach of contract claims brought by a healthcare provider based on a dispute over

the contractual rate of payment. Highlighted copies of those cited decisions are attached hereto.

See Appendix. Given the plethora of case law rejecting removal of rate payment disputes on the

grounds Aetna asserts here – case law that involves Aetna – Aetna and its counsel certainly knew

better than to attempt removal of a case that only involves a dispute over the rate of payment.

Aetna’s removal was improper and done only to delay and hinder Baptist’s ability to obtain relief

for Aetna’s breaches. At the very least, Aetna’s removal lacked an objectively reasonable basis,

calling for an award of costs and fees. See Martin v. Franklin Capital Corp., 546 U.S. 132, 141,

126 S.Ct. 704, 163 L.Ed.2d 547 (2005); Talamantes v. Chromalloy Gas Turbine Corp., 2008 WL

5061644, at *4 (W.D. Tex. Nov. 25, 2008).

5.         Conclusion

           Aetna has failed to meet its burden to establish federal jurisdiction. Baptist’s Texas-law

claim for breach of contract is not a claim for ERISA benefits—it need not be (and indeed cannot

be) resolved in federal court. Because this Court lacks subject-matter jurisdiction, it should

remand this case to state court and award Baptist its costs and attorneys’ fees related to Aetna’s

intentionally improper removal.


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                                                  Respectfully submitted,

                                                  SMYSER KAPLAN & VESELKA, L.L.P.


                                                    /s/ Jeff Potts
                                                    Jeff Potts
                                                    State Bar No. 00784781
                                                    Fed ID No. 16804
                                                    jpotts@skv.com
                                                    Jarod R. Stewart
                                                    State Bar No. 24066147
                                                    Fed ID No. 1043011
                                                     jstewart@skv.com
                                                  700 Louisiana, Suite 2300
                                                  Houston, Texas 77002
                                                  713/221-2300 - telephone
                                                  713/221-2320 – fax



                                                  STRONG PIPKIN BISSELL & LEDYARD,
                                                  LLP


                                                  /s/ Greg M. Dykeman
                                                  Greg M. Dykeman
                                                  State Bar No. 06325100
                                                  595 Orleans, Suite 1400
                                                  Beaumont, TX 77701
                                                  Tel: (409) 981-1120
                                                  Fax: (409) 981-1010
                                                  gdykeman@strongpipkin.com

                                                  ATTORNEYS FOR BAPTIST HOSPITALS
                                                  OF SOUTHEAST TEXAS


                               CERTIFICATE OF CONFERENCE

           I have conferred with counsel for Defendant, who is opposed to remand.

                                                    /s/ Jarod R. Stewart
                                                  Jarod R. Stewart




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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing instrument has
been served on all counsel of record as shown below on this 9th day of July, 2018, via the court
notification system and by email.



                                                  /s/ Jarod R. Stewart
                                                Jarod R. Stewart




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